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  1   P. Kristofer Strojnik, SBN 242728
      pstrojnik@strojniklaw.com
  2   Esplanade Center III, Suite 700
  3   2415 East Camelback Road
      Phoenix, Arizona 85016
  4   415-450-0100 (tel.)
  5
      Attorneys for Plaintiff
  6
                                 UNITED STATES DISTRICT COURT
  7
  8                            CENTRAL DISTRICT OF CALIFORNIA

  9   THERESA BROOKE, a married woman
      dealing with her sole and separate claim,      Case No:
 10
 11                           Plaintiff,             VERIFIED COMPLAINT
 12   vs.                                            (JURY TRIAL DEMANDED)
 13
      SOCAL HOSPITALITY GROUP INC., a
 14   California corporation,
 15
                              Defendant.
 16
             Plaintiff Theresa Marie Brooke alleges:
 17
                                               PARTIES
 18
             1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
 19
      and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
 20
      the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
 21
      California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
 22
      to the loss of a leg.
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             2.      Defendant, Socal Hospitality Group Inc., owns and/or operates and does
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      business as the hotel Comfort Inn & Suites Lancaster located at 1825 West Avenue J
 25
      12, Lancaster, California 93534. Defendant’s hotel is a public accommodation pursuant
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      to 42 U.S.C. § 12181(7)(A), which offers public lodging services. On information and
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      belief, Defendant’s hotel was built or renovated after March 15, 2012.
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  1                                          JURISDICTION
  2          3.      Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
  3   U.S.C. § 12188.
  4          4.      Plaintiff’s claims asserted herein arose in this judicial district and
  5   Defendant does substantial business in this judicial district.
  6          5.      Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
  7   in that this is the judicial district in which a substantial part of the acts and omissions
  8   giving rise to the claims occurred.
  9          6.      Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
 10   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
 11   decline jurisdiction.
 12                                          ALLEGATIONS
 13          7.      Plaintiff alleges that Defendant’s hotel does not have a compliant access
 14   aisle at the passenger loading zone adjacent to the hotel lobby in violation of Section
 15   503 of the 2010 Standards. An access aisle has specific requirements to be compliant
 16   with the Standards: It must be 60 inches wide and at least 20 feet long, it must have an
 17   accessible route adjoining it, and it cannot be within a vehicular way. Section 503.3.
 18          8.      The requirement for an access aisle at a passenger loading zone is
 19   immensely important for a person in a wheelchair such as Plaintiff, as it provides safe
 20   access to the entry of the hotel and deters others from placing encumbrances or
 21   obstacles there such as a vehicle parking. An access aisle is akin to a cross-walk for
 22   pedestrians.
 23          9.      Plaintiff formerly worked in the hospitality industry and her husband
 24   works in the travel industry. She and her husband are avid travelers to California for
 25   purposes of leisure travel and to “test” whether various hotels comply with disability
 26   access laws. Testing is encouraged by the Ninth Circuit Court of Appeals.
 27          10.     Plaintiff and her husband traveled to Santa Clarita and Palmdale in
 28   November 2022 for testing ADA compliance and leisure travel. She has visited the Los


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  1   Angeles metroplex at least five times over the past five months, and she and her
  2   husband anticipate returning several times in the next few months for required hearings,
  3   depositions and further testing. Plaintiff also has concrete plans to lodge at Defendant’s
  4   hotel in May 2023, but she will not honor her concrete plans if Defendant has not
  5   provided notice of remediation by then.
  6            11.   During this trip, Plaintiff personally visited Defendant’s hotel.
  7   Defendant’s hotel has a passenger loading zone because pickup and dropoff occurs
  8   there and it is located directly outside of the lobby entrance. There are also design
  9   features showing an intent for utilization as a passenger loading zone. For example,
 10   there is a porte cochere, which by definition is a design feature for passenger loading
 11   zones. According to the U.S. Access Board Technical Guidelines on Passenger Loading
 12   Zones, passenger loading zones are so common at hotels that even it recognizes “many
 13   hotel entrances” have the design features indicating an intent to utilize as PLZs.
 14            12.   While at Defendant’s hotel, she discovered that Defendant’s hotel has a
 15   barrier to entry to the lobby, which is that the passenger loading zone does not have an
 16   access aisle compliant with Section 503.3. It is an absolute requirement to have an
 17   access aisle at a passenger loading zone pursuant to Section 503.3. The requirement of
 18   an access aisle at a passenger loading zone relates to Plaintiff’s disability of not having
 19   one leg and being forced to use a wheelchair because access aisles are required so
 20   persons in a wheelchair can maneuver without threat of danger from other vehicles and
 21   without other encumbrances blocking their pathway. The lobby, therefore, is
 22   inaccessible to Plaintiff by way of the passenger loading zone because there is no access
 23   aisle.
 24            13.   Plaintiff gained actual and personal knowledge of a barrier while visiting
 25   Defendant’s hotel (no access aisle at passenger loading zone), and as a result, she was
 26   deterred from entering the hotel. She anticipates returning to this hotel and has concrete
 27   plans to do so in May 2023 (see above), but she will only lodge at the hotel if
 28   Defendant puts the required access aisle into place and gives notice of such remediation


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  1   before her definitive return. Visiting otherwise would be futile because the lack of the
  2   access aisle represents a barrier to entering the lobby.
  3          14.    It is readily achievable to modify the hotel to provide an access aisle.
  4   Provision of an access aisle is extremely inexpensive; it involves painting and
  5   measuring tools.
  6          15.    Without injunctive relief, Plaintiff and others will continue to be unable to
  7   independently use Defendant’s hotel in violation of her rights under the ADA.
  8                                   FIRST CAUSE OF ACTION
  9          16.    Plaintiff incorporates all allegations heretofore set forth.
 10          17.    Defendant has discriminated against Plaintiff and others in that it has
 11   failed to make its public lodging services fully accessible to, and independently usable
 12   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
 13   121282(b)(2)(iv) and the 2010 Standards, as described above.
 14          18.    Defendant has discriminated against Plaintiff in that it has failed to
 15   remove architectural barriers to make its lodging services fully accessible to, and
 16   independently usable by individuals who are disabled in violation of 42 U.S.C.
 17   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
 18   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
 19   services nor result in an undue burden to Defendant.
 20          19.    In violation of the 2010 Standards, Defendant’s hotel passenger loading
 21   zone does not have a disability access aisle compliant with Section 503.3 of the
 22   Standards.
 23          20.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
 24   as described above, is readily achievable by the Defendant. Id. Readily achievable
 25   means that providing access is easily accomplishable without significant difficulty or
 26   expense.
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  1          21.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
  2   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
  3          22.      Without the requested injunctive relief, Defendant’s non-compliance with
  4   the ADA’s requirements that its passenger loading zone be fully accessible to, and
  5   independently useable by, disabled people is likely to recur.
  6          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
  7                a. Declaratory Judgment that at the commencement of this action Defendant
                      was in violation of the specific requirements of Title III of the ADA
  8                   described above, and the relevant implementing regulations of the ADA;
  9
                   b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
 10                   36.504(a) which directs Defendant to take all steps necessary to bring its
 11                   passenger loading zone into full compliance with the requirements set
                      forth in the ADA;
 12
                   c. Payment of costs and attorney’s fees;
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 14                d. Provision of whatever other relief the Court deems just, equitable and
                      appropriate.
 15                                 SECOND CAUSE OF ACTION
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             23.      Plaintiff realleges all allegations heretofore set forth.
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             24.      Defendant has violated the Unruh by denying Plaintiff equal access to its
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      public accommodation on the basis of her disability as outlined above.
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             25.      Unruh provides for declaratory and monetary relief to “aggrieved
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      persons” who suffer from discrimination on the basis of their disability.
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             26.      Plaintiff has been damaged by the Defendant’s non-compliance with
 22
      Unruh.
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             27.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
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      relief as the Court considers appropriate, including monetary damages in an amount of
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      $4,000.00, and not more.
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             28.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
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      amount to be proven at trial.
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  1        WHEREFORE, Plaintiff demands judgment against Defendant as follows:
  2           a. Declaratory Judgment that at the commencement of this action Defendant
                 was in violation of the specific requirements of Unruh; and
  3
  4           b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                 36.504(a) which directs Defendant to take all steps necessary to bring its
  5              passenger loading zone into full compliance with the requirements set
  6              forth in the ADA;

  7           c. Payment of costs and attorney’s fees;
  8           d. Damages in the amount of $4,000.00; and
  9
              e. Provision of whatever other relief the Court deems just, equitable and
 10              appropriate.
                                DEMAND FOR JURY TRIAL
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           Plaintiff hereby demands a jury trial on issues triable by a jury.
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 13
           RESPECTFULLY SUBMITTED this 6th day of November, 2022.
 14
 15
                                               /s/ P. Kristofer Strojnik
 16                                            P. Kristofer Strojnik (242728)
 17                                            Attorneys for Plaintiff

 18
                                          VERIFICATION
 19
 20        I declare under penalty of perjury that the foregoing is true and correct.
 21                      DATED this 6th day of November, 2022.
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 24
 25
           Theresa Marie Brooke
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